                           United States District Court
                         Western District of North Carolina
                                Charlotte Division
         Felicia A. Underdue,
                                      )              JUDGMENT IN CASE
              Plaintiff(s),           )
                                      )                3:16-cv-00653-RJC
                                      )
                  vs.                 )
                                      )
          Wells Fargo Bank,           )
                N.A.,                 )
           Defendant(s).

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered.

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 12, 2021 Order.
                                            October 12, 2021




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